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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


NETSOCKET, INC.,                                      JURY TRIAL DEMANDED
                    Plaintiff,
   v.
                                                      Case No. 2:22-cv-00172-JRG
CISCO SYSTEMS, INC.,

                   Defendant.


             FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff NetSocket, Inc. (“NetSocket”) for its First Amended Complaint against Defendant

Cisco Systems, Inc. (“Cisco”), alleges as follows:

                                      NATURE OF THE ACTION

        1.     This is an action brought by NetSocket for infringement of U.S. Patent No.

7,616,601 (the “’601 Patent”) and U.S. Patent No. 7,190,698 (the “’698 Patent”) (collectively, the

“Asserted Patents”), arising under the patent laws of the United States, 35 U.S.C. §§ 271 and 281.

                                            PARTIES

        2.     NetSocket is a corporation organized and existing under the laws of the State of

Delaware with its principal place of business at 7208 Chardonnay Drive, Frisco, Texas 75035.

        3.     NetSocket was founded in 2006 by three individuals who formerly worked at

Chiaro Networks. Chiaro Networks developed certain routing software that it licensed to

businesses. NetSocket initially licensed, but later purchased, the Chiaro routing software. The

product and business strategy was to leverage the substantial investment at Chiaro in its routing

software and repurpose it as a service assurance provider for real-time services, e.g., voice, video,

and data, running over internet protocol (IP) networks.


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       4.      NetSocket’s strategy was to passively peer with service provider routers and

correlate real-time sessions with the path traveled in the IP network. By doing so, NetSocket could

see problematic data links with congestion, packet drop, high latency, etc., making it easier to

troubleshoot call or session quality. Such a capability did not exist previously and attracted

attention from the likes of Microsoft, who became an early partner with NetSocket. See below:




https://www.businesswire.com/news/home/20130130005800/en/NetSocket-Achieves-Microsoft-
Lync%C2%AE-ISV-Program-Qualification

       5.      Approximately two years later, in 2008, NetSocket acquired Operax AB, a Swedish

company that had accomplished several industry firsts. In particular, Operax was very aggressive

in working on partnerships with the likes of Ericsson, Bridgewater Systems, Siemens Nokia

Systems, and several others. Operax also conducted trials with many global service providers.

       6.      After acquiring Operax, NetSocket’s go-forward plan was to merge the two teams

and technologies, and select the strongest functionality from each product in areas of overlap, in

order to have the industry’s first and only service assurance and admission control platform so that

service providers could deliver strong service-level agreements (SLA) for emerging real-time

services being delivered over IP networks.




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        7.        On information and belief, Cisco is a corporation organized and existing under the

laws of Delaware with its principal place of business located at 170 West Tasman Drive, San Jose,

California 95134.

                                   JURISDICTION AND VENUE

        8.        This action arises under 35 U.S.C. §§ 100, et seq., and this Court has jurisdiction

over the subject matter of this action under 28 U.S.C. §§ 1331 and 1338(a).

        9.        This Court has personal jurisdiction over Cisco in this action because Cisco has

committed acts within this District giving rise to this action.

        10.       This Court has personal jurisdiction over Cisco in this action because Cisco has

established minimum contacts with this forum such that the exercise of jurisdiction over Cisco

would not offend traditional notions of fair play and substantial justice.

        11.       Cisco, directly and/or through subsidiaries or intermediaries, has conducted

business in this District, the State of Texas, and elsewhere in the United States.

        12.       Cisco, directly and/or through subsidiaries or intermediaries has committed and

continues to commit acts of infringement in this District by, among other things, making, using,

importing, offering to sell, and selling products and providing services that infringe the Asserted

Patents, and/or has induced acts of patent infringement by others in this judicial district, the State

of Texas, and elsewhere in the United States.

        13.       Venue is proper in this Court under 28 U.S.C. §§ 1391 and 1400(b).

        14.       On information and belief, Cisco has regular and established physical presences in

this District, including, but not limited to, ownership of or control over property, inventory, or

infrastructure.




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       15.        On information and belief, Cisco maintains several places of business within the

State of Texas.

       16.        On information and belief, Cisco maintains a place of business at 2250 E President

George Bush Highway, Richardson, Texas 75082.

       17.        On information and belief, Cisco maintains a data center at 2260 Chelsea Blvd.,

Allen, Texas 75013.

       18.        On information and belief, in 2019 the Collin County Appraisal District assessed

the property located at 2250 E President George Bush Highway and 2260 Chelsea Boulevard at a

combined value of over $300,000,000.

       19.        On information and belief, Cisco is registered to do business in the State of Texas.

       20.        On information and belief, Cisco may be served with process through its registered

agent, Corporation Service Company dba CSC – Lawyers Incorporating Service Company, 211 E.

7th Street, Suite 620, Austin, Texas 78701-3218.

                                        THE ASSERTED PATENTS

       21.        The ’601 Patent, entitled “Network Resource Manager In A Mobile

Telecommunication System,” was duly and legally issued by the U.S. Patent and Trademark Office

on November 10, 2009. A true and correct copy of the ’601 Patent is attached hereto as Exhibit A.

       22.        The ’698 Patent, entitled “Network Optimisation [sic] Method,” was duly and

legally issued by the U.S. Patent and Trademark Office on March 13, 2007. A true and correct

copy of the ’698 Patent is attached hereto as Exhibit B.

       23.        NetSocket is the current owner and assignee of the Asserted Patents.

       24.        The claims of the Asserted Patents are valid and enforceable.




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       25.     As described in more detail below, Cisco infringes the Asserted Patents by making,

using, selling, importing, and offering to sell routers running Cisco IOS 15 and above and related

networking components, and all like products, collectively “the Accused Products,” in Texas and

throughout the United States.

                                                 COUNT 1

                                (Infringement of U.S. Pat. No. 7,616,601)

       26.     NetSocket repeats and re-alleges all the allegations above as if fully set forth herein.

       27.     Cisco has infringed and continues to infringe one or more claims of the ’601 Patent

by making, using, offering to sell, selling, and/or importing into the United States infringing

devices without authority in violation of 35 U.S.C. § 271(a). Cisco has actively induced

infringement of the ’601 Patent, and continues to induce infringement, without authority in

violation of 35 U.S.C. § 271(b). Cisco has also contributed to the infringement of the ’601 Patent

and continues to contribute to the infringement of the ‘601 Patent in violation of 35 U.S.C. §271(c).

       28.     Cisco has and continues to infringe, directly and indirectly, literally and under the

doctrine of equivalents, at least claim 1 of the ’601 Patent at least by making, using, offering to

sell, importing, and/or selling end-to-end Quality of Service (QoS) within a mobile

telecommunication system.

       29.     For example, upon information and belief, Cisco manufactures, imports, sells and

offers to sell a Multiprocessor WAN Application Module (MWAM) and Catalyst 6500 and 7600

Series routing platforms, which when used together provide Quality of Service (QoS) within a

mobile telecommunication system (the “Cisco QoS System”) in the United States and encourages

distributors to sell, offer to sell, and use, and encourages Cisco’s customers to use, the Cisco QoS

System.




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       30.     Cisco has had knowledge of and notice of the ’601 patent and its infringement since

before the filing of the original Complaint.         NetSocket provided direct notice of Cisco’s

infringement of the ’601 Patent to Cisco by letter dated May 23, 2022 and delivered prior to the

filing of the original Complaint. Cisco offers to sell the Cisco QoS System in this District and does

so with knowledge that the sale and use of the Cisco QoS System infringes and with the intent for

its customers to use the Cisco QoS System in an infringing manner.

       31.     The Cisco QoS System provides end-to-end Quality of Service (QoS) within a

mobile telecommunication system that satisfies each of the limitations of at least claim 1 of the

’601 Patent.

       32.     For example, the Cisco Multiprocessor WAN Application Module (MWAM),

when used with the Cisco Catalyst 6500 and 7600 Series routing platforms, provides end-to-end

Quality of Service (QoS) within a mobile telecommunications system such as the one shown in

Figure 1-2 below:




                               Overview of GPRS and UMTS - Cisco




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       33.    As shown above, the mobile telecommunication system in Figure 1-2 comprises a

Core Network outlined in green that contains Cisco routers (shown as short cylinders with four

arrows) and a Gateway GPRS Support Node (GGSN). The system also includes a Radio Access

Network (RAN) outlined in red.

       34.    The Core Network is connected to the RAN via a Serving GPRS Support Node

(SGSN), which uses an IP based transmission:




ggsnover.pdf (cisco.com)

       35.    Cisco implements Quality of Service (QoS) protocols in the Gateway GPRS

Support Node (GGSN):




ggsnqos.pdf (cisco.com)

       36.    Cisco implements Quality of Service (QoS) on an end-to-end basis:




https://www.cisco.com/c/en/us/td/docs/ios/qos/configuration/guide/12_2sr/qos_12_2sr_book/qos
_overview.html#wp1000918




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       37.    The Cisco Multiprocessor WAN Application Module (MWAM), when used with

the Cisco Catalyst 6500 and 7600 Series routing platforms, handles radio resources within the

RAN by using a radio resource manager.

       38.    The network shown in Figure 1-2 below contains two Serving GPRS Support

Nodes (SGSN) circled in blue:




ggsnover.pdf (cisco.com)

       39.    The Cisco Serving GPRS Support Nodes (SGSN) are responsible for, among other

things, RAB (Radio Access Bearer) Assignment Request and RAB Release Request. (See, e.g.,

Serving GPRS Support Node (SGSN) Overview (cisco.com)).

       40.    Because the Cisco Serving GPRS Support Nodes (SGSN) are responsible for the

Radio Access Bearer (RAB) interface, that functionality is the radio resource manager.

       41.    The Cisco Multiprocessor WAN Application Module (MWAM), when used with

the Cisco Catalyst 6500 and 7600 Series routing platforms, controls IP network resources by using

a resource map in a Network Resource Manager (NRM) in order to provide end-to-end Quality of



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Service (QoS), where the Network Resource Manager (NRM) performs path-sensitive call

admission control by using the resource map in the NRM, the NRM checking that resources are

available along a path, and the NRM pre-allocating resources in an IP network.

       42.    In the network shown in Figure 1-2 below, the Network Resource Manager (NRM)

functionality is performed by the Cisco Gateway GPRS Support Node (GGSN) circled in orange:




ggsnover.pdf (cisco.com)

       43.    The Cisco Gateway GPRS Support Node (GGSN) IOS provides Server Load

Balancing functionality using Dynamic Feedback Protocol (IOS SLB DFP):




ggsnslb.pdf (cisco.com)



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       44.     The Cisco Gateway GPRS Support Node (GGSN) obtains information as part of its

role in controlling Quality of Service (QoS):




ggsnqos.pdf (cisco.com)

       45.      The Cisco Gateway GPRS Support Node (GGSN) also performs path-sensitive call

admission control:




ggsnqos.pdf (cisco.com)

       46.     The Cisco Gateway GPRS Support Node (GGSN) also pre-allocates resources by

recognizing different classes of Quality of Service (QoS) functionality and allocating more

resources to the higher classes:




ggsnqos.pdf (cisco.com)




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ggsnqos.pdf (cisco.com)

       47.     The Cisco Gateway GPRS Support Node (GGSN) is responsible for implementing

Quality of Service (QoS) along the entire pathway (“end-to-end”):




ggsnqos.pdf (cisco.com)

       48.     Additionally, adaptive or intelligent routing decisions are performed by the Cisco

Serving GPRS Support Nodes (SGSN), which uses a process called Evolved ARP (E-ARP) to

preempt certain traffic based on priority levels:




Quality of Service (QoS) Management for SGSN (cisco.com)

       49.     The Cisco Multiprocessor WAN Application Module (MWAM), when used with

the Cisco Catalyst 6500 and 7600 Series routing platforms, schedules resources over time by

introducing a start and a stop time as a parameter in a resource request handled by the NRM.

       50.     Cisco’s Quality of Service (QoS) policies can be applied locally through the use of

start and stop times:




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https://www.cisco.com/c/en/us/td/docs/wireless/controller/8-3/config-guide/b_cg83.pdf

       51.    The Cisco Multiprocessor WAN Application Module (MWAM), when used with

the Cisco Catalyst 6500 and 7600 Series routing platforms, communicates resource information

between the NRM and the radio resource manager.

       52.    In the network shown below in Figure 1-2, the Cisco Serving GPRS Support Nodes

(SGSN), which contains the radio resource manager functionality as described above, also includes




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functionality that communicates with the NRM functionality in the Cisco Gateway GPRS Support

Node (GGSN):




ggsnover.pdf (cisco.com)

       53.     The Cisco Multiprocessor WAN Application Module (MWAM), when used with

the Cisco Catalyst 6500 and 7600 Series routing platforms, reserves the IP network resources along

the path by the NRM to fulfill the end-to-end Quality of Service (QoS).

       54.     The Cisco Gateway GPRS Support Node (GGSN), acting as the NRM, allows the

user to reserve resources for certain Quality of Service (QoS) classes:




ggsnqos.pdf (cisco.com)

       55.     Cisco markets, offers to sell, sells, and distributes the Cisco QoS Systems, and will

continue to do so, knowing the same to be especially made or especially adapted for use in an

infringement of the ’601 Patent. The Cisco QoS Systems are not staple articles or commodities of

commerce suitable for any substantial non-infringing uses. As shown above, the purpose and

nature of the Accused System are directed to infringement and, as a result, there are no substantial

non-infringing uses.

       56.     Cisco has committed and continues to commit acts of infringement that Cisco knew

or should have known constituted an unjustifiably high risk of infringement of the ’601 Patent.

Cisco’s infringement of the ’601 Patent has been and continues to be deliberate and willful,


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entitling NetSocket to an award of treble damages, reasonable attorney’s fees, and costs in bringing

this action.

        57.    Cisco’s direct and indirect infringement has caused and is continuing to cause

damage and irreparable injury to NetSocket. NetSocket will continue to suffer damage and

irreparable injury until that injury is enjoined by this Court. NetSocket is entitled to preliminary

and permanent injunctive relief and damages as a result of Cisco’s infringement of the ’601 Patent

in accordance with 35 U.S.C. §§ 271, 281, 283, 284, and 285.

                                                 COUNT 2

                                (Infringement of U.S. Pat. No. 7,190,698)

        58.    NetSocket repeats and re-alleges all the allegations above as if fully set forth herein.

        59.    Cisco has infringed and continues to infringe one or more claims of the ’698 Patent

by making, using, offering to sell, selling, and/or importing into the United States infringing

devices without authority in violation of 35 U.S.C. § 271(a). Cisco has actively induced

infringement of the ‘698 Patent, and continues to induce infringement, without authority in

violation of 35 U.S.C. § 271(b). Cisco has also contributed to the infringement of the ’698 Patent

and continues to contribute to the infringement of the ‘698 Patent in violation of 35 U.S.C. §271(c).

        60.    Cisco has and continues to infringe, directly and indirectly, literally and under the

doctrine of equivalents, at least claim 1 of the ’698 Patent at least by making, using, offering to

sell, importing, and/or selling Quality of Service (QoS) as part of its Internetwork Operating

System (IOS) versions 12 and above.

        61.    For example, upon information and belief, Cisco manufactures, imports, sells and

offers to sell the Cisco Internetworking Operating System (IOS) versions 12 and above (the “Cisco

IOS”) in the Unites States, and encourages distributors to sell, offer to sell and use, and encourages




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Cisco’s customers to use, the Cisco IOS in the United States with knowledge that the Cisco IOS

infringes the ’698 Patent.

       62.       Cisco has had knowledge of and notice of the ’698 Patent and its infringement since

before the filing of the original Complaint.         NetSocket provided direct notice of Cisco’s

infringement of the ’698 Patent to Cisco by letter dated May 23, 2022 and delivered prior to the

filing of the original Complaint. Cisco offers to sell the Cisco IOS in this district and does so with

the knowledge that the use of the Cisco IOS infringes and with the intent for its distributors and/or

customers to use the Cisco IOS in an infringing manner.

       63.       The Cisco IOS satisfies each of the limitations of at least claim 1 of the ’698 Patent.

       64.       For example, the Cisco IOS generates a request from an entity for a Virtual Leased

Line, VLL, having a predefined Quality of Service, QoS, from a source network (SRC) to a

destination network (DST) and applies the request to a Bandwidth Broker (BB) of a domain A,

BBA, associated to the source network.

       65.       In Figure 1 below, CE1 (the “SRC”) is an ingress router and CE3 (the “DST”) is an

egress router:




https://www.cisco.com/c/en/us/td/docs/ios/mpls/configuration/guide/12_2sr/mp_12_2sr_book.pd
f



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       66.    The Cisco IOS generates a request by having its router request RSVP policy

decisions, which reserve network resources, primarily bandwidth (i.e., comprise a Virtual Leased

Line using routers that act as Bandwidth Brokers to manage bandwidth resources) and include

end-to-end Quality of Service (QoS) guarantees (i.e., a predefined Quality of Service (QoS) from

a source network to a destination network), as shown above.

       67.    The Cisco IOS includes having domain BBA establish the different domains

involved to reach the destination network (DST):




https://www.cisco.com/c/en/us/td/docs/ios-xml/ios/iproute_pi/configuration/15-1mt/iri-15-1mt-
book.pdf

       68.    The Cisco IOS includes having domain BBA directly or indirectly pass requests to

all Bandwidth Brokers (BB) of the involved domains regarding a Virtual Leased Line (VLL) of

the predefined Quality of Service (QoS) from ingress to egress of each domain:




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https://archive.nanog.org/meetings/nanog49/presentations/Sunday/P2MP.pdf

       69.    The Cisco IOS includes having each involved bandwidth broker (BB) perform

admission control in its domain:




https://www.cisco.com/c/en/us/td/docs/ios-xml/ios/mp_ias_and_csc/configuration/xe-3s/mp-ias-
and-csc-xe-3s-book/mp-vpn-connect-asbr.pdf




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         70.   The Cisco IOS includes having each involved bandwidth broker (BB) return a result

of the admission control to BBA that passes it back to the requesting entity and if the request was

admitted along all domains between the source (SRC) and the destination (DST) a Virtual Leased

Line (VLL) of the predefined Quality of Service (QoS) is granted:




https://archive.nanog.org/meetings/nanog49/presentations/Sunday/P2MP.pdf

         71.   The Cisco IOS includes performing Label Switched Path (LSP), setup and passing

resource requests from the bandwidth broker (BB) to at least one intra-domain (1DB), wherein

each intra-domain (1DB) is responsible for admission control and the Label Switched Path (LSP)

setup:




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https://archive.nanog.org/meetings/nanog49/presentations/Sunday/P2MP.pdf

        72.    Cisco markets, offers to sell, sells, and distributes the Cisco IOS, and will continue

to do so, knowing the same to be especially made or especially adapted for use in an infringement

of the ’698 Patent. The Cisco IOS is not a staple article or commodity of commerce suitable for

any substantial non-infringing uses. As shown above, the purpose and nature of the Accused

System are directed to infringement and, as a result, there are no substantial non-infringing uses.

        73.    Cisco has committed and continues to commit acts of infringement that Cisco knew

or should have known constituted an unjustifiably high risk of infringement of the ’698 Patent.

Cisco’s infringement of the ’698 Patent has been and continues to be deliberate and willful,

entitling NetSocket to an award of treble damages, reasonable attorney’s fees, and costs in bringing

this action.

        74.    Cisco’s direct and indirect infringement has caused and is continuing to cause

damage and irreparable injury to NetSocket. NetSocket will continue to suffer damage and

irreparable injury until that injury is enjoined by this Court. NetSocket is entitled to preliminary


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and permanent injunctive relief and damages as a result of Cisco’s infringement of the ’698 Patent

in accordance with 35 U.S.C. §§ 271, 281, 283, 284, and 285.

                                         PRAYER FOR RELIEF

       WHEREFORE, NetSocket prays that this Court grant the following relief:

       a)      An order adjudging and decreeing that Cisco has infringed one or more claims of

the Asserted Patents;

       b)      A permanent injunction pursuant to 35 U.S.C. § 283 against the continuing

infringement of the claims of the Asserted Patents by Cisco, its officers, agents, employees,

attorneys, representatives, and all others acting in concert therewith;

       c)      An order directing Cisco to account for and pay to NetSocket all damages caused

to NetSocket by reason of Cisco’s patent infringement, pursuant to 35 U.S.C. §§ 284 and 289, and

that interest and costs be assessed against Cisco;

       d)      A declaration that Cisco’s infringement was and is willful from the time it became

aware of the infringing nature of its products and an award of treble damages for the period of such

willful infringement of the Asserted Patents, pursuant to 35 U.S.C. § 284;

       e)      A declaration that this case is exceptional and an award of attorneys’ fees and costs

under 35 U.S.C. § 285 against Cisco; and

       f)      For all other relief the Court deems just and proper.




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                                            JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, NetSocket hereby demands

a trial by jury of all issues so triable.



DATED: August 19, 2022
                                                     Respectfully submitted,

                                                     By: /s/ Greg Love
                                                     Greg Love
                                                     State Bar No. 24013060
                                                     Email: greg@swclaw.com
                                                     Mark D. Siegmund
                                                     State Bar No. 24117055
                                                     Email: mark@swclaw.com
                                                     Craig D. Cherry
                                                     State Bar No. 24012419
                                                     Email: craig@swclaw.com
                                                     Justin Allen
                                                     State Bar No. 24081977
                                                     Email: justin@swclaw.com
                                                     STECKLER WAYNE CHERRY &
                                                     LOVE, PLLC
                                                     8416 Old McGregor Road
                                                     Waco, Texas 76712
                                                     Tele: (254) 651-3690
                                                     Fax: (254) 651-3689

                                                     Thomas G. Southard
                                                     Brian S. Seal
                                                     Shaun D. Gregory
                                                     (Pro Hac Vice admissions to be requested)
                                                     TAFT STETTINIUS & HOLLISTER
                                                     LLP
                                                     200 Massachusetts Ave., Suite 400
                                                     Washington, D.C. 20001
                                                     Tele: (202) 664-1537
                                                     Fax: (202) 664-1586
                                                     tsouthard@taftlaw.com
                                                     bseal@taftlaw.com
                                                     sgregory@taftlaw.com




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                                                  Richard Eric Gaum
                                                  (Pro Hac Vice admission to be requested)
                                                  TAFT STETTINIUS & HOLLISTER
                                                  LLP
                                                  200 Public Square, Suite 3500
                                                  Cleveland, Ohio 44114-2302
                                                  Tele: (216) 241-2838
                                                  Fax: (216) 241-3707
                                                  egaum@taftlaw.com

                                                  Shalu Maheshwari
                                                  (Pro Hac Vice admission to be requested)
                                                  DAIGNAULT IYER LLP
                                                  8618 Westwood Center Drive
                                                  Suite 150
                                                  Vienna, VA 22102
                                                  Tele: (202) 997-1925
                                                  smaheshwari@daignaultiyer.com

                                                  Attorneys for Plaintiff NetSocket, Inc.

                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rules CV-5(a). As such, this document was served on all counsel who have
consented to electronic service on this 19th day of August 2022.

                                                  /s/ Greg Love
                                                  Greg Love




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